    Case 3:23-cr-01053-RK Document 2 Filed 12/13/23 Page 1 of 1 PageID: 15




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA : Hon.

          v.      :   Crim.              No.          5     3
 BARUCH DRILLMAN :
 a/k/a BARRY DRILLMAN : WAIVER OF INDICTMENT


          I, Baruch Drillman, the above-named defendant, who is charged with
 Conspiracy to Commit Wire Fraud Affecting a Financial Institution, in violation of 18
 U.S.C. 371, being advised of the charge, the proposed Information, and my
 rights, hereby waive in open court on i^~/1 5 / , prosecution by
 indictment and consent that the proceeding may be by information rather than
 by indictment.




                                                Bamch Drillman
                                                Defendaj



                                                Jeffi-ey Lichtman, Esq.
                                                 counsel for Defendant




Before:
            HONORABLE ^,^- ^ ^ ^
            United States District Judge
